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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ROBERT STEUDL,

        Plaintiff,

v.                                                             Case No: 8:15-cv-2624-T-36TGW

CREDIT PROTECTION ASSOCIATION,
L.P.,

      Defendant.
___________________________________/

                                           ORDER

        Before the Court is the Joint Stipulation of Dismissal (Doc. 22). In accord with the Joint

Stipulation of Dismissal, it is ORDERED AND ADJUDGED as follows:

        1)      The Joint Stipulation of Dismissal is APPROVED (Doc. 22).

        2)      This cause is dismissed, with prejudice. Each party shall bear its own costs and

attorneys’ fees.

        3)      The Clerk is directed to terminate any pending motions and deadlines and CLOSE

this case.

        DONE AND ORDERED in Tampa, Florida on November 2, 2016.




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Counsel of Record
